

Matter of Tisdale (2024 NY Slip Op 04177)





Matter of Tisdale


2024 NY Slip Op 04177


Decided on August 8, 2024


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:August 8, 2024

PM-158-24
[*1]In the Matter of Gavin Robert Tisdale, an Attorney. (Attorney Registration No. 5650072.)

Calendar Date:August 5, 2024

Before: Garry, P.J., Egan Jr., Aarons, Reynolds Fitzgerald and Powers, JJ.

Gavin Robert Tisdale, Alexandria, Virginia, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany (Alison M. Coan of counsel), for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Gavin Robert Tisdale was admitted to practice by this Court in 2018 and lists an address in Alexandria, Virginia with the Office of Court Administration. Tisdale now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Tisdale's application.
Upon reading Tisdale's affidavit sworn to May 31, 2024 and filed July 23, 2024, and upon reading the July 25, 2024 correspondence in response by the Deputy Chief Attorney for AGC, and having determined that Tisdale is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Garry, P.J., Egan Jr., Aarons, Reynolds Fitzgerald and Powers, JJ., concur.
ORDERED that Gavin Robert Tisdale's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Gavin Robert Tisdale's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Gavin Robert Tisdale is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Tisdale is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Gavin Robert Tisdale shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








